         Case: 22-50536         Document: 111          Page: 1         Date Filed: 06/12/2023




                                                 250 Massac huse tts Ave NW, Suite 4 0 0 | Wa shing to n, DC 20 0 0 1




June 12, 2023
                                                                                                      Uzoma Nkwonta
                                                                                                  unkwonta@elias.law
                                                                                                   D. +1.202.968.4517



Lyle W. Cayce
Clerk of Court
U.S. Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place, Suite 115
New Orleans, LA 70130-3408

       Re:      Vote.org v. Callanen, et al., Case No. 22-50536
                Argument Held: March 6, 2023
                Panel: Barksdale, Southwick, Higginson

Dear Mr. Cayce:

        Pursuant to Rule 28(j), Vote.org submits the U.S. Supreme Court’s decision in Health and
Hospital Corporation of Marion County v. Talevski, No. 21-806 (S. Ct. June 8, 2023), which held
that provisions of the Federal Nursing Home Reform Act (FNHRA) may be privately enforced
under 42 U.S.C. § 1983. The decision forecloses two of Appellants’ arguments in this appeal.

         First, Appellants argue that the Materiality Provision does not confer a private right
because its text “focuses on the regulated person.” Appellants’ Br. 26. But the Court concluded in
Talevski that two FNHRA provisions directed to “nursing facilities” nonetheless confer private
rights on residents of such facilities. Slip op. 14-16. The provisions at issue provide that “nursing
facilit[ies] must protect and promote the [specified] rights of each resident.” 42 U.S.C. §
1396r(c)(1)(A). Rejecting the very argument Appellants raise here, the Court acknowledged that
these FNHRA provisions “establish who it is that must respect and honor these statutory rights,”
namely the nursing facilities, but held that such framing is “not a material diversion” from ordinary
rights-conferring language. Slip op. 16. As the Court explained, “it would be strange to hold that
a statutory provision fails to secure rights simply because it considers, alongside the rights bearers,
the actors that might threaten those rights.” Id.

        Second, Appellants argue that the Materiality Provision’s enforcement scheme, which
expressly authorizes the Attorney General to bring suit, is comprehensive and thus precludes any
private enforcement. Appellants’ Br. 26; Reply Br. 12. Talevski again rejects that argument.
Despite FNRHA’s “detail[ed]” “enforcement mechanisms,” the Court held that the statute’s
remedial scheme was not “incompatible” with private enforcement under § 1983 and thus did not
         Case: 22-50536        Document: 111         Page: 2     Date Filed: 06/12/2023


Lyle W. Cayce
June 12, 2023
Page 2




preclude a private right of action. Slip op. 18-19. In other words, § 1983 “can play its textually
prescribed role as a vehicle for enforcing [the Materiality Provision], even alongside a detailed
enforcement regime . . . so long as §1983 enforcement is not ‘incompatible’ with Congress’s
handiwork.” Id. at 19. Here, Appellants fail to even assert, let alone demonstrate, that the Attorney
General’s enforcement authority is incompatible with private enforcement.


                                                   Sincerely,

                                                   /s/ Uzoma N. Nkwonta
                                                   Uzoma N. Nkwonta
